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FILED

AO 470 (12/03) Order of Temporary Detention crp 4 A 9n?3

UNITED STATES DISTRICT COURT a DS TEXAS
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION TL SPEPOTY CHER.

USA § ORDER OF TEMPORARY DETENTION
§ PENDING HEARING PURSUANT TO
Vs. § BAIL REFORM ACT
§
(2) Penny Ponce § Case Number: SA:21-CR-00449(2)-XR
Defendant
Upon Motion of the GOVERNMENT , itis ORDERED that a

ARRAIGNMENT / DETENTION HEARING

is set for September 19, 2023 * at 10:30 AM
Date Time
before U.S. MAGISTRATE JUDGE RICHARD B, FARRER

inthe Courtroom A, on the 2nd Floor of the United States Federal Courthouse, 262 W. Nueva

Street, San Antonio, TX
Location of Judicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
( )

and produced for the hearing.

September 14, 2023 AN /] 7 Pyar

Date HENR ee HMPORAD
UNITED’STATES MAGISTRATE JUDGE

* If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of
the Government, or up to five days upon motion of the defendant. 18 U.S.C. §3142(f(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. §3142(f) are present. Subsection (1) sets forth the grounds
that may be asserted by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the
attorney for the Government or upon the officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will
obstruct or attempt to obstruct justice, or threaten, injure, or or attempt to threaten, injure. or intimidate a prospective witness or
juror.
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6/7/2011 Notice of Waiver of Personal Appearance at Arraig

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

USA

vs. Case Number: SA:21-CR-00449(2)-XR

Or Or UO? GP

(2) Penny Ponce

NOTICE OF WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT AND
ENTRY OF PLEA OF NOT GUILTY
WAIVER OF MINIMUM TIME TO TRIAL

NOW COMES Defendant in the above-referenced case who, along with his/her
undersigned attorney, hereby acknowledges the following:

1) Defendant has received a copy of the charging document in this case.

2) Defendant has read the charging document or had it read to him/her.

3) Defendant understands he/she has the right to appear personally with his/her
attorney before a Judge for Arraignment in open Court on this accusation. Defendant further
understands that, absent the present waiver, he/she will be so arraigned in open Court.

Defendant, having conferred with his/her attorney in this regard, hereby waives
personal appearance with his/her attorney at the arraignment of this case and the reading of the
charging document and, by this instrument, tenders his/her plea of "not guilty". The defendant
understands that entry by the Court of said plea for defendant will conclude the arraignment in
this case for all purposes. Defendant request the Court accept his/her waiver of appearance and
entere a plea of "not guilty."

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant

ALL WAIVER FORMS MUST BE FILED IN THE CLERK'S OFFICE NO

LATER THAN 5:00 P.M. ON THE DAY BEFORE THE SCHEDULED DATE OF
ARRAIGNMENT. IF A WAIVER FORM IS NOT SUBMITTED BY THAT TIME,
THE DEFENDANT AND DEFENDANT'S ATTORNEY MUST APPEAR FOR THE
ARRAIGNMENT AS SCHEDULED.
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6/7/2011 Notice of Waiver of Personal Appearance at Arraigi Page 2

4) Defendant understands that he/she has a right to a minimum period of time to
trial so that trial shall not commence less than thirty (30) days from the date on which the
defendant first appears through counsel or expressly waives counsel and elects to proceed pro se.
Defendant further understands that, absent the present waiver, he/she will not be brought to trial
during this thirty (30)-day period.

Defendant, having conferred with his/her attorney in this regard, hereby WAIVES
the requirement that trial shall not commence less than thirty (30) days from the date on which
the defendant first appears through counsel or expressly waives counsel and elects to proceed
pro se.

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant

NOTICE OF RIGHT TO CONSENT
TO DISPOSITION OF A MISDEMEANOR

The U.S. Magistrate Judge may conduct proceedings in any and all Class A

misdemeanor cases, including a jury or non-jury trial, if the defendant voluntarily consents
thereto, and for Class B and C misdemeanors and infractions regardless of consent.

PLEASE INDICATE ONE OF THE FOLLOWING WITH A CHECK MARK:

I DO CONSENT TO MAGISTRATE JUDGE JURISDICTION.
I DO NOT CONSENT TO MAGISTRATE JUDGE JURISDICTION.

NO RESPONSE OR OMISSION OF THIS PAGE WILL BE INTERPRETED AS NOT
CONSENTING TO MAGISTRATE JUDGE JURISDICTION AND CASE WILL BE
ASSIGNED TO A U.S. DISTRICT JUDGE.

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant
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6/7/2011 Waiver of Detention Hearing

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
USA §
§
vs. § NO: SA:21-CR-00449(2)-XR
§
(2) Penny Ponce §

WAIVER OF DETENTION HEARING

At the initial appearance, the government requested that I be detained without bond
pending trial pursuant to Title 18 U.S.C. Section 3142(f).

I am aware of my right to a detention hearing and to require the government to meet its
burden of proving that no conditions of release exist which will reasonably assure my appearance
in court and the safety of the community. I know that if I waive my detention hearing, I will
remain in custody pending trial. By signing this Waiver of Detention Hearing I acknowledge that
I have no questions and understand my rights and the consequences of waiving those rights, and

agree to be detained without bond pending trial.

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant
